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                    UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF NORTH DAKOTA


UNITED STATES OF AMERICA, )       CR 17-00016-DLH
                           )
                Plaintiff, )   MOTION FOR FURLOUGH
                           ) TO PERMIT ATTORNEY-CLIENT
         - vs -            )    CONFERENCES, PLEA
                           )   HEARING PREPARATION,
RED FAWN FALLIS,           )    TRANSPORTATION TO
                           )       PLEA HEARING
                Defendant. )

      The Defendant, RED FAWN FALLIS, by and through her below-signed

Counsel, hereby moves this Court for an Order granting her a limited furlough

from the Centre, Inc. half-way house in Fargo, North Dakota, authorizing her to be

released at 8 a.m. to and travel with Marcos Ciscenaros, the morning of January

21, 2018 to Bismarck, North Dakota, and to stay in Bismarck under the same and

previously successful conditions through the Plea Hearing scheduled on January

22, 2018, and then to return to Centre, Inc, in Fargo in the accompany of Marcos

Ciscineros by 6 p.m. on January 22, 2018.

      This Motion is made to ensure transportation of the Defendant to Bismarck,

North Dakota to meet and prepare with her attorneys for the schedule Plea

Hearing. Mr. Ciscenaros has previously been approved by the Court to serve and


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successfully served in this transportation role.

      This Motion is further based upon the Defendant’s Rights to Due Process

and would be in the furtherance of justice.

Dated this 17th day of January, 2018.

Respectfully submitted:

 /s/ Bruce Ellison                       /s/ Jessie Cook
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